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                                                                                        2018 Aug-07 PM 03:31
                                                                                        U.S. DISTRICT COURT
                                                                                            N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION


BOBBY D. PHILIPS,                             }
                                              }
      Plaintiff,                              }
                                              }
                                              }
v.                                            }
                                              }
                                              }    Case No.: 2:17-cv-02011-RDP
                                              }
CENTRAL FINANCIAL CONTROL,                    }
      Defendant.


                                           ORDER

      This case is before the court on the Motion for Judgment on the Pleadings. (Doc. # 21).

For the reasons explained in the Memorandum Opinion entered contemporaneously herewith, the

Motion for Judgment on the Pleadings (Doc. # 21) is GRANTED, and this action is

DISMISSED WITHOUT PREJUDICE.

      Costs are taxed against Plaintiff.

      DONE and ORDERED this August 7, 2018.



                                           _________________________________
                                           R. DAVID PROCTOR
                                           UNITED STATES DISTRICT JUDGE
